Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 1 of 7




                         UNITXD STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH PIVISION             FILED BY fp13C.
                                                                       .                  D,C,

     SECURITIES AND EXCHANGE COMMISSION ,                             N'0V 2S 2218
                                                                     s'revEN M uAnlMonE
           Plaintiff,                                                CLERKu)ols'rcT.
                                                                     s.D.oFI1Lk-/.na.
     V.                                          No . 14-CV-80468-
                                                      MzoocssRooxs/kaAxxox
     JCS ENTERPRISES, INC. d/b/a JCS
     ENTERPRISES SERVICSS, INC ., T .B .T .I .
     INC., JOSEPH STGNORE, and
     PAUL L . SCHUMACK, IIp

           Defehdants.




                       JOSEPH SIGNORE 'S OBJECTIONS TO
                    RECEIVER 'S FIFTH APPLICATION FOR FEES
                   (DE 407) AND COITINPED REQUE@T FOR AUDIT

           Comes now the Defendant , Joseph Signore , (nsignoren),

     pro se# and respectfully objects Eo the Receiver's C 'SallahH)
     Fifth Application for Order Approving Payment of Fees etc .

     (pE 407)/ Si/norp, as before, must object to paying Sallah
     for the reasons stated below :

                              1.   Brief Background
           From time to time over the past few years Sallah has

 l
 j
     approached this court for payment of his fees and
                                                    <
                                                       expenses and
                                                         .


     those of the persons whom he has retained to assist hin in his
     work . He has every right to get paid a fair fee for his work .

     Signor: would never object to that.
Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 2 of 7




         Sallah has now presented a fifth application for paymenE
  for fees and expenses and as has been the case every time since

  Ehen, there are peculiarities in his application/summary/billing
  sheets. signore will elaborate on just some below.'
         This Court, in its latést order (DE 230 of 9:15-cv-80946)
  described the instant type objections by signgre as ''generalized
  concerns about the Receiver 's actions .          . .'' (Id. p. 1).
  Signore must-
              :-èJ
                .
                 regpecEfùlly state that he has made specific
  allegations of . .      npeculiarities'' that have been born out
                                                ?
                                   .
  by Sallah Is own filings and billi           1
                                    ng sheets .
         We are again at that crossroad .

                         II.   Court 's Supervision
        As b0th Signore and Sallah have stated, this Court has the
                       h  '
  duty to supervise Sallah and ensure the propriety of Sallah 's
  actions.   This duty is extremely broad and left to the sound

  judgment of this Court. SEC v. Elliott, 953 F.2d 1560, 1566 (11th
  Cir. 1992).
         Signore has the sense to concede that this Court does not

  have the time or inclination to look over Sallah 's shoulder at '
  every turn and micro-manage this receivership .        But if Signore ,

  as a layman , can so easily find such errors as have been pointed


  1
    Signore has , in the past, and on several occasions , pointed out
  specific errors r omissions and false statements on the part of
  Sallah in his bllling of the receivership . Signore
                                                 .     will not
  burden the Court with repeating them here but they are already in
  the record and Sallah has, each time: strongly refuted them (except
  once).
Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 3 of 7




  out, what in the world would a team of auditors discover?          And

  why such virulent opposition by Sallah ?      This Court has required

  Sallah to obtain numerous appraisals for selling real property,

  it has required hearings to learn the facts of certain acts by

  Sallah and it has further required other certifications and

  aitestations in accordance with law . Is an audit request so much
  out of line in these types of multi-million dollars dealings?

                    111.   This Particular Application

        Sallah, in late September , asked for another set of fees

  and expenses. Facially, Signore would have no reason to object.
  Signore states outright that Sallah and his professionals have

  a right to earn a living. (Signbre Decl. q 5 (Hsignore, q '')).
        Signore , as a layman , and nothing more, examines that which

  is sent to him by Sallah. (Signore, ç 4-5). Signore figures
  this is what the pleadings are sent to him for anyway .

        Signore is affected by what the receivérship Hlosesll in
  expenses, fees and
                 .
                     the like .     Additionally , Signore still has a

  direct appeal pending in his criminal matter. (Signore, ; 2-3).
  Should that appeal be successful, it will have a direct bearing

 on the instant matter . A lso , for purposes of the actual loss

 and in determining restitution , what is eaten up by receivership

  staff affects Signore.     (Signore, q 6).     So for all these reasons
     is a legitimate concern for Signore that Sallah and his team

 earn a decent living , but at a fair price, and one not inflated
 or filled with incorrect statements to this Court.          Which brings

  us to the current scenario .
Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 4 of 7




            In the most recent request for fees/expenses by Sallah
      (DE 407 in case number 80468, cited above), Sall.ah makes a
      statement , through counsel, that he has staffed ''the day-to-

      day activities of this matter using the services of grofession-
      alsn and that Hthe Court àhould note that he (Sallah) has
      elected not to seek any fees in this Fifth Application for

      his telephone conversations or communications with investors . ''

      (DE 407, p. 6).
            This statement appears to be the latest example of, at
  best, m isspeak . Here 's why :         It is true that from a review of

  the billing sheets, a great amount of work is handed off to
      ''paralegals,'' ''legal assistants'' and ''ihterns . '' This is of

  course reasonable on its face .          Sallah cannot be expected to
  do the work of a dozen or more people .          But the rub is that
  his people are billing oùt at what appears to be huge rates .

  And worse than that, they are billing out tasks that Sallah
                        l .
  specifically states he is not billin 2
                                      g.
            A review of the billing sheets seems to indicate that
  32 hours of work , at very high rates of pay ,. are billed out

  for talking with investors .        And of course , since Sallah is a


  2              -
       Should Sallah respond that his statement is correct in that
  h.
  .t is not billing the tasks but that others are, this is just
  smoke and mirrors . He is making money off the work of his
  staffers for his and his firm 's benef it . And even assuming,
  arguendo , that this too is fine , h1s statement is still
  incorrect at the end of the day . The receivership is being
  billed for communications with investors .


                                      4
Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 5 of 7




  partner in the firm , he is certainly benefitting from this

  arrangement and false statement.

         This is not a difficult set of circumstances and it is
  not inherently evil on anyone ls part , but audits exist for

  reason .   They keep everyone honest and on their toes .       By

  Sallah 's own admission , he and his firm do quite a bit of

  receivership work . Evidehtly he has become comfortable in
  doing as he pleases so long as he has big-gun names doing

  reports and analysis for him .      So long as there are nice
  spread sheets and routine requests for permission to do this

  and that , he has free run. Thése ar* the appearances . And
  the misstatements, the errors in billing already admiEted to
  by 'Sallah , and now the false statement about billing for some
  work, a1l suggest that there is room for a neutral person to

  step in and closely examine a1l the transactions of Sallah .
         There is probably a reason that Sallah has so consistently

  and so viciously opposed such a thihg. The points that Signore
  has made over the past 30 months are not conjecture or wild
  hunches , they have been taken directly from Sallah 's o w n
                                                           .



  pleadings and billing sheets.      They are his own words being

  shown for what they are, not someone elsezs.

                              IV .   Conclusion

         For the reasons stated above , Joseph Signore must

  respectfully object to the payment to Sallah, or anyone else,
  at this time , any fees or expenses. And it is for these reasons
Case 9:14-cv-80468-DMM Document 408 Entered on FLSD Docket 11/09/2018 Page 6 of 7




  stated herein and in other pleadings that Signore must again

  ask the Court to Order an independent audit to ensure that

  al1 participants in the receivership are treated fairly and

  in an open manner , as they should.




                                       Respectfully submitted,



  Dated : November 5, 2018
                                       Joseph Signore




                           CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the fore-
  going was duly served on all parties to this actiqn, this 5th

  day of November , 2018 , by First Class U .S . Mail, with proper
  postage and the correct address affixed .




                                       Jospeh Signore




                                   6
I'. N ..-                                     ''                           '              -------.-
                                                                                                  ..---   s.x.-. --* .-                                 'e'9l.:'<6'qk A$           ''                                     '
4.
 1..'%. a                            ..1:)   ..s.
                            Case 9:14-cv-80468-DMM
                                         1.10K                      -      .k
                                                                              Document <p.. .. w.. ... 408 AEntered     .
                                                                                                                           on .FLSD
                                                                                                                           .        .'vq u. .q.. Docket
                                                                                                                                                      '    11/09/2018
                                                                                                                                                            l
                                                                                                                                                            .        :2$.
                                                                                                                                                                           Page T' . 7 of .71:$1. -*
                                                                                                                                                                                                   .-* . . ....
         $,
         '                           .                                                         ..'..-> 1p'
                                                                                                         ! '' ..      t      1zz'
                                                                                                                              . 1.  '
                                                                                                                                    ..1 N.'..>.'
                                                                                                                                     .                       e'                 ,           . '
         '
,.w e- .      .   .
                              ..
                              1
                              . J4:
                               *.  se
                                  .)
                                   .       h .,çIt
                                     @*1 .1. ..   jno'
                                                  (
                                                  .  l
                                                     -
                                                     .,...-.-;
                                                           ...'
                                                             .,
                                                              .-,
                                                               ... '.. .,
                                                                 .,,
                                                                        ,1
                                                                         .
                                                                         ..
                                                                         ..-1u
                                                                             .$
                                                                              .
                                                                              f.
                                                                                v. Y'
                                                                               .,
                                                                               '! IoexprlR.
                                                                                             ':4v
                                                                                          il. ,g  r-j
                                                                                                    q.
                                                                                                     -
                                                                                                     p,
                                                                                                      &
                                                                                                      ,,
                                                                                                       A.
                                                                                                        Vt
                                                                                                         .'....'G'. .. ' l :d'
                                                                                                         Xu                  *w.A:
                                                                                                                                  '
                                                                                                                                  t
                                                                                                                                  ,
                                                                                                                                  .-...q'..,.' u .
                                                                                                                                                   %.
                                                                                                                                                   N
                                                                                                                                                 t..w
                                                                                                                                                    .
                                                                                                                                                    l ''#' I:
                                                                                                                                                            k.-
                                                                                                                                                              .           '
                                                                                                                                                                          ,.,,;.b        ''-. i ;.%
                                                                                                                                                                                                  .- , <'
                                                                                                                                                                                                        -.                              ..       ..
                                                                                                                                                                                                                                                 .      .
     :                                                        . .f                                h%1                                                                                   ..I
 ... ..r              >'...w
                           ,'''
                              a'
                               ,. .=..      edlca. .en
                                               .F
                                                .Ed
                                             .. '.
                                                  . e/
                                                 ..  'J:i  .tet' r''al..         ''.  ':q
                                                                                    f.. b-l-t'.'r ..r.,j...>-''r' .. , hq
                                                                                         .
                                                                                        k-
                                                                                        I            .                                .                                    . ..u.J .
                                                                                                                                                                                       '
                                                                                                                                                                                              t . ...- . .w .! .
                                                                                                                                                                                    b)- . .....     .                       e'?,k...
                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                         .    . ,
                                                                                                                                                                                                                                                .t
                                                                                                                                                                                                                                                   ,
              '        :, ox4z-x1
                                .
                                  4 '
                                    .
                                    . 0
                                      .
                                     '..
                                       . 0
                                         (    .       .       .            .. .
                                                                               $1 -
                                                                                  'S.
                                                                                    d /
                                                                                      UA.
                                                                                        e
                                                                                        .  .
                                                                                           e..
                                                                                                 .
                                                                                                   - . u-.
                                                                                                        ''
                                                                                                          $.
                                                                                                           ,
                                                                                                           n.'
                                                                                                             j<',
                                                                                                                .
                                                                                                                . -
                                                                                                             z:.t.G  -
                                                                                                                  .K'I
                                                                                                                  '     x .
                                                                                                                     bgr?- .-...z
                                                                                                                          .
                                                                                                                                 .  .    - - .'.xv.t.''x ' .. .....c.k..'- .
                                                                                                                                  .'rk. .' - ..' -'..'N
                                                                                                                                     .                  tx
                                                                                                                                                         ...
                                                                                                                                                           r
                                                                                                                                                           ..'. . 'i*
                                                                                                                                                                    .*.>
                                                                                                                                                                    '
                                                                                                                                                                           '
                                                                                                                                                                       :*tlEgj
                                                                                                                                                                             n.j
                                                                                                                                                                               .. x.j
                                                                                                                                                                               .     .g
                                                                                                                                                                                              .
                                                                                                                                                                                                l.
                                                                                                                                                                                                 '
                                                                                                                                                                                                 l .
                                                                                                                                                                                                   .
                                                                                                                                                                                                   '   '.   .. '.
                                                                                                                                                                                                                '
                                                                                                                                                                                                                  r
                                                                                                                                                                                                                       ..-
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            '.,'
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                               *
                                                                                                                                                                                                                               .w.
                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                     .... or'     - . z.
                                                                                                                                                                                                                                                       ' '' .
         -.
          '   '
                    1. (
                       i
                       );
                    .s.ee4
                         :
                         1
                        .-
                         ll
                         ..-
                           1
                          ..
                              (
                            . .
                               :
                               )y-
                                 k .
                                  1..
                                   %. d'   z
                                           s
                                           i(:)
                                              1!;
                                                u1:
                                                  4
                                                  !       .%a.
                                        ..> . 4% g.-(..f. .k.!..
                                                             *...A*
                                                                  œ-
                                                                   *-r..
                                                                    t.....
                                                                         .:
                                                                          . .
                                                                            .--
                                                                              -$
                                                                               1  >
                                                                                  .-
                                                                                   .
                                                                                   w '
                                                                                     <1k  '-
                                                                                           .
                                                                                           -,
                                                                                            K 1 .. .
                                                                                                 ...
                                                                                                   6
                                                                                                   *  .
                                                                                                    %xt    .St.
                                                                                                              jr.
                                                                                                                z
                                                                                                              .rj-
                                                                                                                 1. '-K  A
                                                                                                                         .-
                                                                                                                          &pw
                                                                                                                            .' & -
                                                                                                                                 r
                                                                                                                                 l
                                                                                                                                 q
                                                                                                                                 . .
                                                                                                                                   '  : .-
                                                                                                                                         ..
                                                                                                                                          . - . .
                                                                                                                                                ''
                                                                                                                                                 .'.<'.
                                                                                                                                                      -    .
                                                                                                                                                           sç-.1..      't
                                                                                                                                                                       .. .  * ,   .            '     .  -..  .                           .
                                                                                                                                                                                                                                          l $   .      '      1I
                                                                                                                .K
                                                                                                                 c@.7
                                                                                                                    v.
                                                                                                                     .N
                                                                                                                      1*
                                                                                                                       t1
                                                                                                                        -J
                                                                                                                         .'..*  4Y:''  . ..x.
                                                                                                                                            .'''
                                                                                                                                               >.r'.''.......Tw. . 4-           q.z
                                                                                                                                                                                . '.l '. ...   u. j  .j wjt
                                                                                                                                                                                                          jkJ/      . ..5. .t.j
                                                                                                                                                                                                                              l
                                                                                                                                                                                                                              .% '.'  g
                                                                                                                                                                                                                                      .. -1' v-.<% z '!p   '.
         < .                             .                                         .                                                                              .
           .
             l .......- it .. tates'*        *'' '' ' #.FT'     z'.8.-  1 - ez ' . 'r-                '
                                                                                                      *'
                                                                                                       *
                                                                                                       2*, .V'              *-K<'.''   :'
                                                                                                                                        z'     .
                                                                                                                                               '
                                                                                                                                               l' k''''I'      .' ''''         *,'      z 1' F0REVE1
                                                                                                                                                                                   'Qeà''
                                                                                                                                                                                        ;                            . FOREYE             ' *' '' '' '        t
                       .'zce.vœQ ayZx.
                                    ....-'r..             .       .                                        ....   ,,z'
                                                                                                                     l..
                                                                                                                       '.t.1'.          '.I'>.
                                                                                                                             - ''..-.'.t.    :...%
                                                                                                                                                 ''d.           *'''w.KC.
                                                                                                                                                                        -w..$
                                                                                                                                                                            2./:,.,zt'
                                                                                                                                                                                     kx%.'w.'   *                               .w.: J       '                   .
  .
  -           l .--
                  .-k
                    .-
                     'i
                     e-
                      ...
                        .
                        ..     I
                               m.I
                          r.x>..
                               m e:
                                  )j:wj.
                                     kJ .,
                                       ..
                                                      -'..'    e.
                                                                ..*2     '                                  ç
                                                                                                            .
                                                                                                            ..r- Q'x.
                                                                                                                  4.jK'é'
                                                                                                                      x .'
                                                                                                                         t
                                                                                                                         t u'u
                                                                                                                             4pmp
                                                                                                                                '''
                                                                                                                                  .*. k
                                                                                                                                      iz
                                                                                                                                       Q'' **
                                                                                                                                            *
                                                                                                                                            .*                                                                                     ..                 ' '''t-.
 .-. -     .- -.-                        ..
                                          '..
                                            .. .1eJw .'   .' .
                                                             ..v....!
                                                                    .f
                                                                     :
                                                                     .-... . '          .-..    ..
                                                                                                           .'
                                                                                                         .. . 5.
                                                                                                                  '  .
                                                                                                                     .d
                                                                                                                 ,Y'.rAç$                                                              .                                            .



                                                                                          * 05081-104*
                                                                                                              Judge D M lddlebrook:
                                                                                                              701 Clem ltls ST
                                                                                                              Room 257
                                                                                                              W EST PALM BCH,FL      33401
                                                                                                                                  . .' v...
                                                                                                                                          q.-. .
                                                                                                              U ni
                                                                                                                 ted Btates            -1 - '
